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  MADEL PA
800 PENCE BUILDING                                                                   CHRISTOPHER W. MADEL
800 HENNEPIN AVENUE                                                                            DIRECT DIAL
MINNEAPOLIS, MINNESOTA 55403                                                               (612) 605-6601
(612) 605-0630                                                                      CMADEL@MADELLAW.COM
WWW.MADELLAW.COM




       January 18, 2023

       The Honorable Donovan W. Frank
       United States District Court
       316 N. Robert Street
       Courtroom 7C
       St Paul, MN 55101

              Re:     Computer Forensic Services, Inc. et al v. BraunHagey and Borden LLC
                      Court File No. 0:22-cv-02665-DWF-ECW

       Dear Judge Frank:

              I write on behalf of my client in the above-captioned action to advise Your Honor
       that today, Defendant served upon my client the attached subpoena (executed by Ron
       Fisher) seeking “All data and devices You have obtained from Radio City, Inc.” with a
       compliance date of February 6, 2023 in connection with action pending in the U.S.
       District Court for the Northern District of California. We understand this to be the
       property that is the subject of Defendant’s currently-pending Motion for Preliminary
       Injunction.

             Given the pending motions before Your Honor, we wanted to make the Court
       aware of this action by Defendant.
                                                    Very truly yours,
                                                       s/ Christopher W. Madel
                                                       Christopher W. Madel

       CC:    All Counsel of Record (via CM/ECF)

       Attachment
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